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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

JOHN FREEMAN BOOTH, JR.,               §
                                       §
     Plaintiff,                        §                           Civil Action No. 3:24-cv-00269
                                                                                                .
                                       §
vs.                                    §
                                       §                            JURY TRIAL DEMANDED
ANSCHUTZ ENTERTAINMENT GROUP, INC.,    §
AEG LIVE, LLC, ANSCHUTZ TEXAS, LP,     §
AEG PRESENTS, LLC, and ROBIN PHILLIPS, §
                                       §
     Defendants.                       §


                          PLAINTIFF’S ORIGINAL COMPLAINT


       Plaintiff John Freeman Booth, Jr. (“Plaintiff”) files Plaintiff’s Original Complaint against

Defendants Anschutz Entertainment Group, Inc. (“AEG”), AEG Live, LLC (“AEG Live”),

Anschutz Texas, LP (“Anschutz Texas”), AEG Presents, LLC (“AEG Presents”), and Robin

Phillips (“Phillips”) (taken together the “Defendants”) and respectfully states as follows:

                                                 I.

                                 PRELIMINARY STATEMENT

       Justin Bieber. Jackson Browne. Matchbox Twenty. These are just some of the artists for

whom Plaintiff created original hand done paintings. Plaintiff created over forty such paintings

over the span of a just few years. His works have been created for and sold to celebrities and world

leaders. His works were even shown in the opening of the Atlantis Hotel in Dubai.

       But, when the Defendants decided to remodel their leased concert space, they destroyed

some of his artworks. When they did so, they knowingly violated his statutory rights. Plaintiff

seeks to enforce his statutory rights which Defendants knowingly violated.


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                                                II.

                                            PARTIES

       1.      Plaintiff is a living individual and resides in Pagosa Springs, Colorado. Plaintiff is

a visual artist and creator of the body of works of visual art referred to in this Complaint as the

Artworks.

       2.      On information and belief, Individual Defendant Robin Phillips (“Phillips”) is a

resident of Tarrant County, Texas; on information and belief, she is and has been at all material

times a Vice President of AEG Presents, LLC and personally participated in, supervised, and

directed the VARA violations alleged in this Complaint. She may be served with process at her

office located at 1001 Performance Place, Grand Prairie, Texas 75050, Texas or through her

employer’s registered agent, C T Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas

75201 or wherever she may be found.

       3.      On information and belief, Defendant Anschutz Entertainment Group, Inc. is a

Colorado corporation and has been at all material times a corporation doing business in Texas. It

may be served with process through its registered agent, C T Corporation System, 1999 Bryan

Street, Suite 900, Dallas, Texas 75201.

       4.      On information and belief, Defendant AEG Live, LLC has been at all material times

a limited liability company doing business in Texas. It may be served with process through its

registered agent, C T Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

       5.      On information and belief, Defendant Anschutz Texas, LP is a Texas limited

partnership and has been at all material times a Texas limited partnership doing business in Dallas

County, Texas. It may be served with process through its registered agent, C T Corporation

System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.


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       6.      On information and belief, Defendant AEG Presents, LLC (formerly known as

AEG Live) is and has been at all material times a Delaware limited liability company registered to

do business and doing business in Texas. AEG Presents is the second-largest presenter of live

music and entertainment events, after Live Nation. It may be served with process through its

registered agent, C T Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

       7.      Defendants Anschutz Entertainment Group, Inc., AEG Live LLC, Anschutz Texas

LP, and AEG Presents LC are referred to collectively herein as “AEG” or the “AEG Defendants.”

The term “Defendants” when used by itself refers to all Defendants collectively.

       8.      On information and belief, the AEG Defendants operated at the time of the events

complained of, the venue currently known as the “Texas Trust CU Theatre at Grand Prairie”

(previously known as “The Verizon Theater,” and before that as “Nokia Theatre” and “NextStage

Performance Theater”) (“Theatre”). The Theatre is owned by the City of Grand Prairie and leased

by AEG from the City of Grand Prairie. The Theatre is located in Dallas County, Texas.

       9.      Plaintiff is informed and believes, and on that basis alleges, that at all relevant times

mentioned in this Complaint, Defendants were acting in concert and actively participating with

each other in committing the acts alleged herein and were agents of each other and were acting

within the scope and authority of that agency with knowledge, consent and approval of one

another.

                                                 III.

                                 JURISDICTION AND VENUE

       10.     This court has jurisdiction of the Visual Artists Rights Act (“VARA”) claims under

17 U.S.C. § 106A and 28 U.S.C. § 1331 and 1338(a).




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       11.     Venue is proper in this Court under 28 U.S.C. § 1391 (b) and (c) because all

Defendants are residents of this District for the purpose of determining venue and a substantial

part of the events giving rise to the claims occurred in this District.

       12.     Venue is appropriate in the Dallas Division because the Theatre is in Dallas County.

                                                  IV.

                                   FACTUAL BACKGROUND

       13.     This controversy arises because of Defendants’ intentional mutilation and/or

destruction of paintings created by Plaintiff – which are of recognized quality and of substantial

public interest – including, without notice, by disposing of them, some of them in a dumpster.

Defendants were also grossly negligent by failing to properly maintain and protect Plaintiff’s

paintings and disposing of them without first making a reasonable effort at restoration or to repair

any damage. These acts were done without Plaintiff’s prior knowledge or consent and in violation

of his rights under VARA.

        14.    In about 2007, Plaintiff began painting performer portraits for the Texas Trust CU

Theatre at Grand Prairie” (Theatre). These artworks achieved recognized stature and included hand

painted portraits of performers and famous persons appearing at local Dallas area venues.

        15.    Between about 2007 and 2010, Plaintiff painted and delivered at least 40 performer

portraits, which were placed on the walls of the Theatre. Appendix A contains a list of over 40

performer portrait paintings (Plaintiff’s Artworks) that Plaintiff sold to the Theatre and delivered

to Defendants’ possession and care. Plaintiff’s Artworks were and are fully protected by VARA.

        16.    AEG manages the Theatre and describes the Theatre as a five-story concert and

entertainment facility seating over 6,000. To see the Theatre at Grand Prairie’s promotions of the

performer portraits, go to YouTube. See https://youtu.be/KjNFm5_1YfQ?


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        17.   Upon information and belief, based upon average, over twenty-five thousand

individuals     attend     performances      at      the     Theatre      per      month.      See

https://maps.app.goo.gl/kMAjs9HMgDLEsHSZ7 for an online tour of the Theatre including the

backstage areas.

        18.   Plaintiff’s Artworks were prepared without the performer’s presence, requiring the

use of acceptable approved images of the performer. Plaintiff’s Artworks for the Theatre

(including those listed in Appendix A) were based on images furnished to him by the Theatre (or

AEG), including images sometimes called “admats,” and the portraits constituted derivative works

which are and were fully protected by VARA.

        19.   Plaintiff’s Artworks were delivered to the Theatre, contained Plaintiff’s name and

identifying logo, and were viewed and presented to the performer for autographing.

        20.   Upon information and belief, some of Plaintiff’s Artworks were also autographed

by the performers.

        21.   Upon information and belief, some of Plaintiff’s Artworks were shown to other

performers as an enticement to perform at the Theatre.

        22.   In creating the Plaintiff’s Artworks for the Theatre (including those listed in

Appendix A), Plaintiff was a 1099 independent contractor rather than an employee, and the

paintings were not “works made for hire.”

        23.   Plaintiff retained the copyrights to Plaintiff’s Artworks, and no copies thereof can

be made without his prior consent.

        24.   At no point did Plaintiff waive his rights under VARA.

        25.   Plaintiff delivered at least forty (40) paintings to AEG’s possession.




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           26.   Plaintiff recently learned that Defendants had mutilated and/or destroyed performer

portraits (artworks) that had been on display at the Theatre and trashed and disposed of them in a

dumpster.

           27.   Upon information and belief, some, but not all, of Plaintiff’s Artworks remain in

the possession of Defendants.

           28.   Upon information and belief, AEG disposed of some of Plaintiff’s Artworks.

           29.   Upon information and belief, AEG disposed of Plaintiff’s Artworks in a dumpster.

           30.   Upon information and belief, Defendants removed signatures, attributions, or other

indicia of Plaintiff’s creation of Plaintiff’s Artworks and portraits.

           31.   Upon information and belief, Defendants intentionally mutilated and/or destroyed

a number of Plaintiff’s Artworks without giving Plaintiff prior notice and without obtaining his

consent.

           32.   Upon information and belief, Defendants failed to maintain and safeguard

Plaintiff’s paintings and disposed of them without first making a reasonable effort at restoration

or to repair any damage.

           33.   Defendants also did not provide notice or any opportunity for Plaintiff to object or

to protect Plaintiff’s Artworks and took no steps to provide any notice of the destruction of

Plaintiff’s Artworks.

           34.   Upon information and belief, Defendants’ acts of mutilation and/or destruction

(disposal) of Plaintiff’s Artworks were intentional. In addition, Defendants were aware of their

duty under VARA not to destroy artwork of this character. Defendants were on notice as to artists’

legal right of integrity and its protection under VARA and still destroyed and/or mutilated

Plaintiff’s artworks.


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          35.   Defendants were well aware of the VARA statute prohibitions, as Defendants had

previously been sued for destroying artworks under VARA. See Ockerman v. Anschutz

Entertainment Group, Inc., No. 2:11-cv-09422 (C.D. Cal. filed 11/14/2011) (“Ockerman”).

          36.   Upon information and belief, AEG was sued in Ockerman for dumping artworks in

the trash and settled the case before trial.

          37.   Notwithstanding the fact that AEG had settled the previous VARA suit for

destroying artworks (paintings), AEG was undeterred from mutilating and/or destroying Plaintiff’s

Artworks that had been on display and misleading about the destruction.

                                                    V.

                                           CAUSES OF ACTION

          A.    VIOLATION OF THE VISUAL ARTISTS RIGHTS ACT (17 U.S.C. §106A)

                                     RIGHT OF INTEGRITY

          38.   Plaintiff incorporates and realleges all previous allegations as if fully set forth

herein.

          39.   Plaintiff’s Artworks are each works of visual art referred to in this Complaint as

Plaintiff’s Artworks. Plaintiff’s Artworks consisted of works of a recognized stature.

          40.   On information and belief, Defendants willfully and intentionally destroyed,

distorted, mutilated, and/or otherwise modified Plaintiff’s Artworks.

          41.   Plaintiff did not give consent to Defendants to destroy or mutilate Plaintiff’s

Artworks. Plaintiff has not waived any of his rights granted under VARA, 17 U.S.C. § 106A.

          42.   On information and belief Defendants acted willfully, intentionally, and/or with

gross negligence in destroying and mutilating and destroying Plaintiff’s Artworks. Defendants’

destruction of Plaintiff’s Artworks of recognized stature is the proximate cause of prejudice to

Plaintiff’s honor and reputation.
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          43.     On information and belief, Defendants were grossly negligent by failing to maintain

and safeguard Plaintiff’s Artworks and disposing of them without first making a reasonable effort

at restoration or to repair any damage.

          44.     The destruction, distortion, mutilation, and/or modification of Plaintiff’s Artworks

occurred in a manner prejudicial to his honor and/or reputation and causing him substantial harm

in this regard.

          45.     Plaintiff is entitled to compensatory (actual and/or statutory damages) for the

injuries and loss sustained as a result of Defendants’ conduct and any additional profits of

Defendants not taken into account in computing actual damages.

          46.     Plaintiff is entitled to recover his reasonable attorney’s fees and costs pursuant to

17 U.S.C. § 505.

          47.     Because Defendants acted willfully, pursuant to VARA and the Copyright Act,

Plaintiff is entitled to, and seeks, penalties of up to $150,000 for each of his paintings destroyed

under 17 U.S.C. § 504(c).

          B.      VIOLATION OF THE VISUAL ARTISTS RIGHTS ACT (17 U.S.C. § 106A)

                                     RIGHT OF ATTRIBUTION

          48.     Plaintiff incorporates and realleges all previous allegations as if fully set forth

herein.

          49.     Under VARA, Plaintiff was entitled to receive credit for his authorship of Plaintiff’s

Artworks.

          50.     Plaintiff has not waived his rights under VARA.

          51.     Defendants violated Plaintiff’s right of attribution under VARA by destroying

and/or mutilating Plaintiff’s Artworks and depriving him of the right to receive credit for his work.



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         52.    Defendants’ actions injured Plaintiff and his honor and reputation, and Defendants

are liable to Plaintiff for actual or statutory damages, at his election, as well as attorneys’ fees and

costs, under 17 U.S.C. §§ 504(c), 505.

                                                  VI.

                                          JURY DEMAND

        Plaintiff respectfully demands trial by jury.

                                                 VII.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for Judgment as follows:

        a.      A judgment in Plaintiff’s favor and against Defendants on all of Plaintiff’s claims
                against Defendants;

        b.      For compensatory damages and any additional profits of Defendants not taken into
                account in computing actual damages;

        c.      That Plaintiff receive statutory damages under 17 U.S.C § 504(c) for each violation
                of rights under VARA up to the maximum allowed by law, or actual damages, as
                well as attorneys’ fees under 17 U.S.C. § 505;

        d.      That the Court award Plaintiff his attorneys’ fees, costs, and expert fees, as allowed
                by law;

        e.      An award of prejudgment and post judgment interest, as provided by law;

        f.      That the Court order Defendants to provide an accounting and proof regarding
                Plaintiff’s Artworks and identify the location of these works; and

        g.      Such other and further relief to which Plaintiff may be justly entitled.




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                                          Respectfully submitted,

                                          /s/ Charles W. Gameros, Jr., P.C.
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                                         Appendix A




                   Ref         Picture              Items/ Performers




                       1                                 Barenaked Ladies




                       2                                     Bellator




                       3                                    Bill Engvall




                       4                             Black Label Society




                       5                                   Blackstreet




                       6                                  Carlos Mencia




                       7                                 Curious George




                       8                                  Dierks Bentley




                       9                                   Erykah Badu




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                   Ref          Picture              Items/ Performers




                       10                                  Evanescence




                       11                                  George Lopez




                       12                                    Godsmack




                       13                                 Gordon Lightfoot




                       14                                    HippieFest




                       15                                    Hullabaloo




                       16                                 Jackson Browne




                       17                                   Janni Rivera




                       18                                  Justin Bieber




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                   Ref          Picture              Items/ Performers




                       19                                 Lady Antebellum




                       20                                   Lamb of God




                       21                                   Magaret Cho




                       22                                 Marilyn Manson




                       23                                 Matchbox Twenty




                       24                                      Maze




                       25                                    Megadeth




                       26                         Morris Day and the Time




                       27                                    Paramore




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                                          Appendix A




                   Ref          Picture              Items/ Performers




                       28                                  Queensryche




                       29                                  Randy Travis




                       30                                  Russell Peters




                       31                                 Sarah Mclachlan




                       32                                    Scorpions




                       33                                  Sheryl Crow




                       34                                   Shinedown




                       35                      So You Think You Can Dance




                       36                                   Steely Dan




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                                          Appendix A




                   Ref          Picture              Items/ Performers




                       37                                  Stole Christmas




                       38                                    Storytime




                       39                                  Styx w Boston




                       40                                 Styx w Foreigner




                       41                         The Australian Pink Floyd




                       42                         The Gruesome Twosome




                       43                                 The Men of Soul




                       44                         Trans-Siberian Orchestra




                       45                                 Weird Al Yankovic




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                       46                                 Widespread Panic




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